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                                UNITED STATES COURT OF APPEALS
                                     FOR THE SIXTH CIRCUIT
                                     100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt                 POTTER STEWART U.S. COURTHOUSE                       Tel. (513) 564-7000
        Clerk                           CINCINNATI, OHIO 45202-3988                     www.ca6.uscourts.gov




                                               Filed: July 13, 2020




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Ms. Tiffany Alora Thomas


                  Re: Case No. 20-3526, Chad Thompson, et al v. Richard Dewine, et al
                      Originating Case No. : 2:20-cv-02129

Dear Counsel,

  The Court issued the enclosed Order today in this case.

                                               Sincerely yours,

                                               s/Roy G. Ford
                                               Case Manager
                                               Direct Dial No. 513-564-7016

cc: Mr. Richard W. Nagel

Enclosure
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                 NOT RECOMMENDED FOR FULL-TEXT PUBLICATION

                                         Case No. 20-3526

                           UNITED STATES COURT OF APPEALS                                 FILED
                                FOR THE SIXTH CIRCUIT                               Jul 13, 2020
                                                                               DEBORAH S. HUNT, Clerk

 CHAD THOMPSON, et al.,                            )
                                                   )
           Plaintiffs-Appellees,                   )
                                                   )         ON APPEAL FROM THE UNITED
 v.                                                )         STATES DISTRICT COURT FOR
                                                   )         THE SOUTHERN DISTRICT OF
 RICHARD MICHAEL DEWINE, et al.,                   )         OHIO
                                                   )
           Defendants-Appellants.                  )                        ORDER
                                                   )
                                                   )
                                                   )


BEFORE: SUTTON, McKEAGUE, and NALBANDIAN, Circuit Judges.

       PER CURIAM.

       On May 26, we stayed pending appeal the district court’s order enjoining Ohio’s

enforcement of its ballot-initiative requirements and the modified requirements the district court

unilaterally imposed. Thompson v. DeWine, 959 F.3d 804, 813 (6th Cir. 2020). Plaintiffs

Thompson, Schmitt, and Keeney have now filed an emergency motion to partially lift that stay.1

Plaintiffs raise two arguments: first, that factual circumstances have changed “such that the court’s

reasons for imposing the stay no long[er] exist or are inappropriate,” (Pls./Appellees’ Emergency

Mot. to Partially Lift Stay at 22 (citing Marsh v. Johnson, 263 F. Supp. 2d 49, 52 (D.D.C. 2003))),

and second, that this court’s order denying a stay in SawariMedia, LLC v. Whitmer, --- F.3d ----,




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         Plaintiffs also applied to the Supreme Court to vacate the stay, but the Court denied the
application. Thompson v. DeWine, --- S. Ct. ----, 2020 WL 3456705 at *1 (2020).
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2020 WL 3603684 at *3 (6th Cir. 2020), a similar case challenging ballot-initiative requirements

in Michigan, “afford[s] differing constitutional protections in the midst of a national crisis to voters

in contiguous States within the same Circuit[.]” (Pls./Appellees’ Emergency Mot. to Partially Lift

Stay at 26.) We are not persuaded by either.

        Plaintiffs contend that circumstances in Ohio have changed such that rather than fully

reopening in the face of COVID-19, Ohio has now extended its public health restrictions. So

“[s]ignature collection will not be what it was before the pandemic until well after the July 16,

2020 deadline.” (Id. at 24.) But we never held that circumstances needed to return to pre-pandemic

status for Ohio’s ballot-initiative requirements to comply with the First Amendment. To the

contrary, we made clear that it was “vitally important” that Ohio’s public health restrictions

“specifically exempted conduct protected by the First Amendment[,]” including petitioning.

Thompson, 959 F.3d at 809–10. And the State has continued to exempt “First Amendment

protected speech, including petition or referendum circulators” from its restrictions. Ohio Dep’t of

Health, Director’s Updated and Revised Order for Business Guidance and Social Distancing ¶ 3

(May 29, 2020); see also Ohio Dep’t of Health, Director’s Second Order to Extend the Expiration

Date of Various Orders ¶ 2(f) (July 6, 2020) (extending the May 29 order “until the earlier of the

State of Emergency declared by the Governor no longer exists, or the Director of the Ohio

Department of Health rescinds or modifies the Order”). So as we said in our stay order, “none of

Ohio’s pandemic response regulations changed the status quo on the activities Plaintiffs c[an]

engage in to procure signatures for their petitions.” Thompson, 959 F.3d at 809.

        Plaintiffs, again, are not challenging direct state restrictions on their ability to circulate

petitions. Plaintiffs instead complain that their task is harder because of the State’s general

COVID-19 restrictions—especially the ban on large gatherings. In other words, while the State




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permits Plaintiffs to stand outside Great American Ball Park with their petitions, it simultaneously

prohibits the typical large crowds from gathering there. But this is the same argument we rejected

in our order granting the stay. “There’s no reason that Plaintiffs can’t advertise their initiatives

within the bounds of our current situation[.]” Id. at 810. And “just because procuring signatures is

now harder (largely because of a disease beyond the control of the State) doesn’t mean that

Plaintiffs are excluded from the ballot.” Id. What’s more, Plaintiffs point to no case for the

proposition that a restriction on large crowds, which typically facilitate the circulation of Plaintiffs’

petitions, somehow infringes on Plaintiffs’ First Amendment rights to circulate those petitions.

The pandemic has lasted longer than most expected. But while circumstances may have changed,

our reasons for the original stay have not—and they are equally appropriate today.

        Second, Plaintiffs’ contention that our decision in SawariMedia creates two classes of

constitutional protections, one for Ohio petition circulators and one for Michigan petition

circulators, is incorrect. Our order granting the stay delineated the differences between Michigan

and Ohio’s public health restrictions. Id. at 809–10. And our order in SawariMedia adopted that

analysis. --- F.3d at ----, 2020 WL 3603684 at *2 (“Thompson distinguished Esshaki almost

entirely based on differences between Michigan’s and Ohio’s stay-at-home orders.”). So there are

not different constitutional standards in Michigan and Ohio. Rather, because of differences in state

law, Ohio can show a likelihood of success against a challenge to its ballot initiative requirements

while Michigan cannot.

        Finally, the State requests that we prohibit Plaintiffs from filing additional motions without

first obtaining leave of court. Because there is an arguable basis for filing this emergency motion,

we decline to do so.




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       For these reasons, we DENY Plaintiffs’ emergency motion to partially lift the stay pending

appeal and DENY the State’s motion to prevent Plaintiffs from filing further motions in this case

without leave of court.

                                            ENTERED BY ORDER OF THE COURT




                                            Deborah S. Hunt, Clerk




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